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                                                                                               787 Seventh Avenue
                                                                                               New York, NY 10019-6099
                                                                                               Tel: 212 728 8000
                                                                                               Fax: 212 728 8111




November 1, 2024

VIA ECF

Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Freeman et al. v. Giuliani, No. 24-mc-353 (LJL)
       Freeman et al. v. Giuliani, No. 24-cv-6563 (LJL)

Dear Judge Liman,

        Plaintiffs Ruby Freeman and Wandrea’ Moss respectfully submit this letter in response to the
Court’s Order at ECF No. 67 directing the parties to submit a proposed schedule for raising by letter
brief any discovery issues in the above-captioned actions. Counsel for Plaintiffs and Defendant have
conferred and reached agreement on the following proposal:

        The parties propose that discovery disputes, including any motion to compel or motion for a
protective order, be governed by the schedule set forth in Paragraph 4(C) of the Court’s Individual Rules
and Practices, with the exception that any letter briefs in opposition be filed within two calendar days
(rather than business days) of any motion, unless the deadline falls on a Saturday, in which it shall be
extended to the next day (Sunday). Further, the parties’ propose that the nonmoving party’s deadline to
meet-and-confer under the second paragraph of Part 4(C) be shortened from 48 to 24 hours.

       Plaintiffs respectfully propose that the schedule for discovery disputes with any third-parties,
including Intervenor-Defendant Andrew Giuliani, be governed by the schedule set forth in Paragraph
4(C) of the Court’s Individual Rules and Practices.

        Finally, to ensure that all outstanding discovery disputes are fully briefed promptly following the
close of discovery and in time for trial in 24-cv-6563 and trial of any pending issues in No. 24-mc-353,
Plaintiffs and Defendant propose the following schedule for briefing any remaining discovery disputes
as of the close of fact discovery:




                B RUSS ELS C HICAGO D ALLAS F RANKFURT H OUSTON L ONDON L OS A NGELES M ILAN
                    M UNICH N EW Y ORK P ALO A LTO P ARIS R OME S AN F RANCISCO W ASHINGTON
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           Any discovery dispute still pending as of the close of fact discovery shall be raised no later
            than January 9, 2025 by letter brief, not to exceed 10 pages single-spaced;

           Any opposition shall be filed by January 13, 2025 at 11:00 a.m., in a letter brief not to
            exceed 10 pages single spaced; as the day and time oppositions are due, with a limit of 10
            pages single-spaced

           Any reply shall be filed by January 13, 2025 at 10:00 p.m., in a letter brief not to exceed 5
            pages single-spaced.

                                                      Respectfully submitted,

                                                      s/ Aaron E. Nathan




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